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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                 )
 8                                              )    No. CR-08-010-EFS-1
                        Plaintiff,              )
 9                                              )    ORDER MODIFYING CONDITIONS
      v.                                        )    OF RELEASE AND GRANTING IN
10                                              )    PART DEFENDANT'S SECOND
      BRANO MILOVANOVIC,                        )    MOTION FOR RECONSIDERATION
11                                              )
                        Defendant.              )
12                                              )

13         At the April 1, 2008, hearing on Defendant's second Motion to

14   Reconsider, Assistant Federal Defender Robert Fischer appeared with

15   Defendant; Assistant U.S. Attorney Joseph H. Harrington represented

16   the United States.

17         The court, having considered the proffers of Defendant and

18   Plaintiff, finds that the cash Defendant originally had available

19   for a bond has been seized and is unavailable.                 Defendant and his

20   spouse also have posted unsecured appearance bonds in amounts

21   totaling $120,000.00.        In addition, the undersigned finds there is

22   no need for a random urinalysis testing condition in the captioned

23   matter.    Accordingly,

24         IT IS ORDERED:

25         1.    The court’s previous Order setting conditions of release

26   is MODIFIED to reflect that Defendant shall not undergo random drug

27   testing.

28         2.    Defendant’s second Motion to Reconsider (Ct. Rec. 125) is

     ORDER MODIFYING CONDITIONS OF RELEASE AND GRANTING IN PART
     DEFENDANT'S SECOND MOTION FOR RECONSIDERATION - 1
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 1   GRANTED    IN   PART.      The   court’s    previous      Order   (Ct.   Rec.     117)
 2   requiring a percentage bond is MODIFIED to reflect the percentage
 3   bond is not required.         The unsecured appearance bonds shall remain
 4   in place.
 5         DATED April 2, 2008.
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 7                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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     ORDER MODIFYING CONDITIONS OF RELEASE AND GRANTING IN PART
     DEFENDANT'S SECOND MOTION FOR RECONSIDERATION - 2
